          Case 2:17-cv-01574-MRH Document 6 Filed 12/05/17 Page 1 of 9



                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

JOHN DOE,                                              :
                                                       :
       Plaintiff,                                      :        Civil Action No. 2:17-CV-01574
                                                       :
v.                                                     :
                                                       :        JURY TRIAL DEMANDED
CARNEGIE MELLON UNIVERSITY,                            :
                                                       :
       Defendant.                                      :

     MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S MOTION FOR A
     TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
    PROHIBITING DEFENDANT FROM CARRYING OUT A SECOND HEARING
       AGAINST PLAINTIFF ON DECEMBER 6, 2017 AND FROM TAKING
 DISCIPLINARY ACTION AGAINST PLAINTIFF FOR INITIATING THIS LAWSUIT

       Plaintiff John Doe (“Plaintiff” or “John”), but the undersigned, files this Memorandum of

Law in Support of Motion For A Temporary Restraining Order And Preliminary Injunction

Prohibiting Defendant From Carrying Out A Second Disciplinary Hearing Against Plaintiff On

December 6, 2017 And From Proceeding Against Him For Initiating The Instant Lawsuit.


                                   I.         Procedural History

       Plaintiff commenced this action against Defendant Carnegie Mellon University (“CMU”

or “the University”) on December 4, 2017, and steps to effectuate service have been undertaken.

                                        II.      Introduction

       Plaintiff’s Verified Complaint is incorporated herein by reference. See Docket Entry 1. A

summary of Plaintiff’s factual allegations is provided here. This case arises out of the policies

and procedures established by CMU, and CMU’s actions pursuant to those policies and

procedures, which resulted in Plaintiff being subjected to a student conduct investigation and

hearing process stemming from false allegations of nonconsensual sexual activity between

Plaintiff and another CMU student, Jane Roe (“Jane”). Both John and Jane were, for all relevant
            Case 2:17-cv-01574-MRH Document 6 Filed 12/05/17 Page 2 of 9



times, and still are, students at CMU. The false allegations at issue in this case stem from

consensual sexual activity between John and Jane on September 17-18, 2016. Several months

later, in February 2017, Jane reported to CMU that she had been sexually assaulted by John.

Thereafter, CMU opened an investigation and student conduct process, which was clearly

performed and carried out in a manner that discriminated against John based upon his gender.

After a July 12, 2017 hearing on the matter, John Hannon, CMU’s then Associate Vice President

Of Student Affairs For Community Life, made the unilateral decision to remand the matter for

another University Disciplinary Committee (“UDC”) hearing due to procedural errors that

occurred at the initial hearing.

       The applicable CMU policies and procedures do not provide for a hearing to be remanded

for a new hearing. John has been and is currently being subjected to another investigatory and

hearing process, which is proceeding in a manner identical to the first – one which is

discriminating against him based upon his gender. The biased actions and procedures that

occurred during the initial investigation and hearing have disadvantaged John, and it is

abundantly clear that they continue to operate to harm him. Because of the unfairness

demonstrated by CMU toward John and the deprivation of John’s rights, as well as CMU’s

various breaches of its contract with John, John is seeking injunctive relief from this court to

prevent further damage and harm to him.

                                        III.    Argument
       1.      Legal Standard

       Pursuant to Rule 65 of the Federal Rules of Civil Procedure, a party seeking a temporary

restraining order and/or a preliminary injunction must demonstrate:

       (1) A likelihood of success on the merits; (2) that it will suffer irreparable harm if
           the injunction is denied; (3) that granting preliminary injunction will not result



                                                 2
          Case 2:17-cv-01574-MRH Document 6 Filed 12/05/17 Page 3 of 9



              in even greater harm to the nonmoving party; and (4) that the public interest
              favors such relief.

Layshock ex rel. v. Hermitage School Dist., 412 F. Supp. 2d 502 (W.D. Pa. 2006) (quoting Kos

Pharmaceuticals, Inc. v. Andrx Corp., 369 F.3d 700 (3d Cir. 2004)). Courts in jurisdictions

throughout the nation have recognized that immediate injunctive relief is often appropriate in

cases such as this, involving universities and students with similar claims to those at issue here.

See, e.g. Doe v. The Pennsylvania State University, 2017 WL 3581672 (M.D. Pa. Aug. 18,

2017); Doe v. University of Cincinnati, 872 F.3d 393 (6th Cir. 2017); Doe v. University of Notre

Dame, 2017 WL 1836939 (N.D. Indiana, South Bend Division May 8, 2017); Ritter v.

Oklahoma, 2016 WL 2659602, at *8 (W.D. Okla. May 6, 2016); and King v. DePauw Univ.,

2014 WL 4197507 (S.D. Ind. Aug. 22, 2014).


       As the facts alleged in Plaintiff’s Verified Complaint demonstrate, consideration of these

factors establishes Plaintiff’s right to a temporary restraining order and subsequent preliminary

injunction preventing CMU from holding a second UDC hearing and further disciplining John

for initiating this lawsuit. John is very likely to succeed on his causes of action. John has already

suffered and will continue to suffer irreparable harm if the school is not enjoined. Specifically,

John’s educational opportunities and potential employment opportunities have been harmed by

CMU’s unlawful conduct, unfair policies and procedures, breaches of contract, and procedural

violations.

   2. Plaintiff is Likely to Succeed on the Merits
                   i. Violations of Title IX

       Title IX requires that “[n]o person in the United States shall on the basis of sex, be

excluded from participation in, be denied the benefits of, or be subjected to discrimination under

any education program or activity receiving Federal financial assistance.” 20 U.S.C. § 1681(a).


                                                   3
            Case 2:17-cv-01574-MRH Document 6 Filed 12/05/17 Page 4 of 9



Moreover, it “bar[s] the imposition of university discipline where gender is a motivating factor”

and is enforceable through a private right of action for damage as well as for injunctive relief.

Doe v. Columbia Univ., 831 F.3d 46 (2d Cir. 2016) (internal citations omitted).


         John is very likely to succeed on the merits of his claim that CMU, a recipient of federal

funding, discriminated against him based upon his gender, in violation of Title IX and will

continue to so discriminate. Among other things, the University has: limited John’s ability to

have full notice of the charges and allegations against him, failed to require that he be provided

with all relevant evidence, prohibited him from presenting witnesses on his behalf, conducted the

investigation process in a biased manner, created a presumption that John acted as Jane alleged,

denied John the ability to bring counter allegations, and remanded the initial hearing for a second

hearing. As set forth in great detail in the Verified Complaint, the University’s actions showed a

clear bias in favor of Jane and against John, due to John’s gender. See Docket Entry 1 at ¶¶ 52-

54, 63, 72, 74-78, 84-85, 90, 97.

         The University has also shown that it will violate Title IX at the upcoming hearing by,

among other things: having the same moderator, process advisor, and CMU attorney as the First

Hearing; utilizing the same policies/procedures used at the First Hearing (other than a change

precluding the admission of new material on the day of the hearing); not, upon information and

belief, retraining or properly training the members of the Second Board; and not providing the

Second Board with an appropriate investigation into Jane’s allegations. See Docket Entry 1 at ¶¶

109-110, 147; See also Docket Entry 1 at Exhibit N.1




1
  Plaintiff’s Verified Complaint seeks Declaratory Relief with respect to CMU’s upcoming violations. Declaratory
relief is appropriate where the parties have adverse legal interests, it will redress a real and substantial controversy
between the parties, and it will be useful to John and others similarly treated by CMU. 28 U.S. Code § 2201. Those
conditions are met here, as demonstrated herein and in the Verified Complaint.

                                                            4
          Case 2:17-cv-01574-MRH Document 6 Filed 12/05/17 Page 5 of 9



                   ii. Breach of Contract and Specific Performance

       Under Pennsylvania law, the elements for breach of contract are: (1) the existence of a

contract including its essential terms; (2) a breach of the contract; and (3) resultant damages. See,

e.g. Meyer, Darragh, Buckler, Bebenek & Eck, P.L.L.C. v. Law Firm of Malone Middleman,

P.C., 137 A.3d 1247 (Pa. 2016). Specific performance is available, “if a plaintiff clearly is

entitled to such relief, there is no adequate remedy at law, and the trial court believes that justice

requires such a decree.” Oliver v. Ball, 136 A.3d 162, 166 (Pa. Super. Ct. 2016).

       John is likely to succeed on his breach of contract claims against CMU. John accepted

CMU’s offer of admission and made payment of tuition and fees, creating a contract with CMU.

The terms of this contract are contained within the written policies of the University, which is

not authorized by CMU policies. See Docket Entry 1 at ¶¶ 39-40, 66, 154-57. Moreover, as a

university contracting with a student, CMU is required, at a minimum, to provide for disciplinary

procedures that are fundamentally fair. Kimberg v. University of Scranton, 411 Fed. Appx. 473,

481 (3d Cir. 2010). CMU has breached this contract through the inherent unfairness in the

student conduct process as it was applied to John and through breach of its express terms,

including various procedural errors and policy violations through the first investigation and UDC

hearing and the initiation and conduct of the supplemental investigation and intention to hold

second UDC hearing. See Docket Entry 1 at ¶¶ 52-54, 63, 72, 74-78, 84-85, 90, 97, and 156.

Thus, not only will John demonstrate that the University’s policies are unfair in substance and

perception but he will also show that CMU, in showing biased deference to Jane, caused multiple

procedural errors and violated its own written policies – all a clear breach of its contract with

John. Through these breaches, John has suffered at least nominal damages and is exposed to an

unauthorized, second UDC hearing and expulsion. See Docket Entry 1 at ¶¶ 155-157.



                                                  5
          Case 2:17-cv-01574-MRH Document 6 Filed 12/05/17 Page 6 of 9



       Similarly, John will succeed on his specific performance claim. With respect to this

claim, CMU has clearly expressed its intent to breach its contract again by holding the December

6, 2017 hearing, which is not authorized or permitted by CMU’s policies. See Docket Entry 1 at

¶¶ 159-165; See also Id. at Exhibit A. Due to the foregoing breaches and the nature of the

relationship between John and CMU, there is no appropriate remedy available to John at law

except for the Court to require CMU to specifically perform its obligations under its contract

with John and stop all proceedings against John as those proceedings now lack authorization by

CMU policy.

                  iii. Due Process Violations

       John is likely to succeed on the merits of his declaratory relief claim involving CMU’s

deprivation of his due process rights. See footnote 1, supra. The guarantee of due process is a

constitutional right and because CMU has contracted to provide its students with “constitutional

rights and responsibilities of any citizen under the law,” it owes due process rights to John,

which the University has clearly violated. See Docket Entry 1 at ¶ 167 and at Exhibit A. Due

process is applicable in the university setting and includes principles of basic fairness in

disciplinary hearings. See, e.g. Doe v. Brandeis University, 177 F. Supp. 3d 561, 601-602 (D.

Mass. 2016). CMU will deprive John of, among other things: his liberty interest in his good

name and reputation and his property interest in his education and continued enrollment at CMU,

all without due process of law by holding the second hearing. At the second hearing, the

University will: (i) utilize an inadequate investigation into Jane’s allegations against John; (ii)

fail to permit John or his attorney to cross-examine Jane; (iii) fail to permit John to call witnesses

of his choosing; (iv) fail to provide John with an adequately trained Board that will allow John to

present a sufficient number of questions to challenge Jane’s credibility; (v) fail to provide John



                                                  6
          Case 2:17-cv-01574-MRH Document 6 Filed 12/05/17 Page 7 of 9



with a Board that will not be biased against him; and (vi) fail to provide John with a Board that

will not automatically accept Jane as credible. See Docket Entry 1 at ¶¶ 167-177.



   3. Plaintiff will Suffer Irreparable Harm

       “The irreparable harm requirement is met if a plaintiff demonstrates a significant risk that

he or she will experience harm that cannot adequately be compensated after the fact by monetary

damages.” Adams v. Freedom Forge Corp., 204 F.3d 475, 484–85 (3d Cir. 2000). In the context

of a university disciplinary proceeding, a plaintiff’s inability to continue or complete his

education constitutes irreparable harm. See, e.g. Gati v. Univ. of Pittsburgh, 91 A.3d 723, 729

n.10 (Pa. Super. 2014).

        As the foregoing demonstrates, Plaintiff absolutely meets this requirement. Violations of

John’s rights and the unfair treatment of him by CMU must be stopped. If the University holds

the second hearing, John will be expelled due to the Title IX violations, contractual breaches, and

deprivations of due process. See Docket Entry 1 at ¶ 161. Accordingly, John’s interest in the

continued pursuit of his education and future employment will be irreparably harmed and lost as

no comparable education exists if CMU moves forward with a second UDC hearing under its

policies and procedures which, as demonstrated, are inherently unfair and fraught with gender-

bias against John. See Docket Entry 1 at ¶¶ 52-54, 63, 72, 74-78, 84-85, 90, 97. Similarly, John

will experience irreparable injury emotionally, including harm to his reputation, in being falsely

accused as a sex offender.

   4. The Injunctive Relief will not Result in Harm to Nonmoving Parties

       In cases such as this, courts often determine that the balance of harm favors the student

over the university because a student is typically raising constitutional or other unlawful

violations by the university that would result in substantial harm to the student’s educational and

                                                  7
          Case 2:17-cv-01574-MRH Document 6 Filed 12/05/17 Page 8 of 9



potential employment opportunities, See, e.g. Doe v. The Pennsylvania State University, 2017

WL 3581672; Doe v. University of Notre Dame, 2017 WL 1836939; Ritter v. Oklahoma, 2016

WL 2659602; and King, 2014 WL 4197507. As set forth in the foregoing and in the incorporated

Verified Complaint, that is the case here.

        There is minimal harm, if any, to CMU if it is not enjoined – especially not compared to

the harm John faces, as outlined in the foregoing. John’s claims are based upon constitutional

violations, Title IX violations, and breaches of contract, all of which, if permitted to continued,

will permanently and irreparably harm his future educational and employment opportunities,

among other things. John has demonstrated that he is likely to succeed on the merits of his claims

and, thus, has shown that the balance of the harm favors granting injunctive relief.

    5. The Public Interest Favors such Relief

        The public has an interest in the protection of Plaintiff’s constitutional rights and

allowing him to continue the pursuit of his education and future employment. Plaintiff has

vehemently denied all false allegations against him and is not a threat to others. Therefore, the

public has a far greater interest in allowing a young, intelligent, and talented individual to

continue in his educational pursuits without further interruption by the flawed and unlawful

policies and procedures carried about by the University. Inarguably, the public has a great

interest in protecting the laws and Constitution of this nation. Indeed, the public also has a

significant interest in ensuring that the University does not continue to discriminate against

students based upon their gender, or any other distinguishing characteristic.

    6. Bond Should be Waived because Defendants will not Be Harmed

        It is well-established that the court may waive security required by Rule 65(c) of the

Federal Rules of Civil Procedure for any injunctive relief it grants. Specifically, “. . . in

noncommercial cases, the court should consider the possible loss to the enjoined party together

                                                   8
            Case 2:17-cv-01574-MRH Document 6 Filed 12/05/17 Page 9 of 9



with the hardship that a bond requirement would impose on the applicant.” Elliott v. Kiesewetter,

98 F.3d 47, 59 (3d Cir. 1996). CMU is at no risk of any monetary loss if the requested injunctive

relief is granted. Conversely, requiring a college student to post a bond would be a substantial

hardship. Therefore, Plaintiff respectfully moves this court to waive security for any injunctive

relief.

                                          IV.      Conclusion
          As the foregoing demonstrates, Plaintiff has met the standards for a temporary restraining

order and preliminary injunction. Therefore, Plaintiff respectfully requests that the court enter a

temporary restraining order and preliminary injunction enjoining CMU from holding a second

disciplinary hearing on December 6, 2017, in violation of Plaintiff’s legal, constitutional, and

contractual rights and also enjoining the University from taking disciplinary action against

Plaintiff for initiating this lawsuit.




Dated: December 5, 2017                           Respectfully submitted,


                                                   LEECH TISHMAN FUSCALDO & LAMPL, LLC


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